
In re Disciplinary Counsel; Benge, Joan S.; — Other(s); Applying for Joint Petition for Interim Suspension Pursuant to Rule XIX, § 19.3.
ORDER
Considering the Joint Petition for Interim Suspension filed by respondent, Joan S. Benge, and the Office of Disciplinary Counsel,
IT IS ORDERED that Joan S. Benge, Louisiana Bar Roll number 20490, be and she hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19.3, pending further orders of this court. Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately.
/s/ Jeffrey P. Victory Justice, Supreme Court of Louisiana
Guidry, J., recused.
